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                                        UNITED STATES DISTRICT COURT
          16                           CENTRAL DISTRICT OF CALIFORNIA
          17     JOHN DOE I, Individually and on                 CASE NO. 2:05-cv-05133-SVW-MRW
                 behalf of Proposed Class Members;
          18     JOHN DOE II, Individually and on                DEFENDANT NESTLÉ USA, INC.’S
                 behalf of Proposed Class Members;               NOTICE OF MOTION AND 12(B)(1)
          19     JOHN DOE III, Individually and on               & 12(B)(6) MOTION TO DISMISS
                 behalf of Proposed Class Members;               DOE PLAINTIFFS’ SECOND
          20     JOHN DOE IV, Individually and on                AMENDED COMPLAINT
                 behalf of Proposed Class Members;
          21     JOHN DOE V, Individually and on                 [Proposed Order filed concurrently here-
                 behalf of Proposed Class Members;               with]
          22     and JOHN DOE VI, Individually
                 and on behalf of Proposed Class                 Hearing:
          23     Members,                                        Date:       January 9, 2017
                                    Plaintiffs,                  Time:       1:30 p.m.
          24           v.                                        Place:      Courtroom 6, 312 N. Spring St.
                                                                 Judge:      Honorable Stephen V. Wilson
          25     NESTLÉ, S.A., NESTLÉ USA,
                 NESTLÉ Ivory Coast, ARCHER                      Action Filed:       July 14, 2005
          26     DANIELS MIDLAND CO.,                            Trial Date:         TBD
                 CARGILL INCORPORATED
          27     COMPANY, CARGILL COCOA,
                 CARGILL WEST AFRICA, S.A.,
          28
                                    Defendants.
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                        DEFENDANT NESTLÉ USA’S MOTION TO DISMISS DOE PLAINTIFFS’ SECOND AMENDED COMPLAINT
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            1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
            2          PLEASE TAKE NOTICE that on January 9, 2017 at 1:30 p.m., or as soon
            3    thereafter as this matter may be heard in the courtroom of Judge Stephen V. Wilson,
            4    located at 312 N. Spring St., Los Angeles, California, Courtroom 6, Defendant Nestlé
            5    USA, Inc. (“Nestlé USA”) will and hereby does move for an order dismissing Plain-
            6    tiffs’ Second Amended Complaint (“SAC”) with prejudice.
            7          This Motion is made following a telephonic conference of counsel which took
            8    place, pursuant to Local Rule 7-3 and the Court’s rules, on September 1, 2016.
            9          NESTLÉ USA RESPECTFULLY REQUESTS that the SAC be dismissed
          10     with prejudice pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).
          11     Nestlé USA bases this Motion on this Notice of Motion and Motion, the memorandum
          12     of points and authorities, the Court’s files and rulings in this action, the arguments of
          13     counsel, and any other matter that the Court may properly consider.
          14     Dated: September 15, 2016
          15
          16                                               THEODORE J. BOUTROUS JR.
                                                           GIBSON, DUNN & CRUTCHER LLP
          17
          18                                               By: /s/       Theodore J. Boutrous Jr.
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          20                                               Attorneys for Defendant
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Crutcher LLP               DEFENDANT NESTLÉ USA’S MOTION TO DISMISS DOE PLAINTIFFS’ SECOND AMENDED COMPLAINT
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            1                       MEMORANDUM OF POINTS AND AUTHORITIES
            2          Nestlé USA, Inc. (“Nestlé USA”) respectfully moves this Court to dismiss
            3    Plaintiffs’ Second Amended Complaint (“SAC”) with prejudice.
            4          Plaintiffs, all natives of Mali, allege that unidentified foreigners trafficked and
            5    forced them to work on cocoa farms in Côte d’Ivoire from 1994-2001. They have not
            6    sued their alleged captors or the farmers that purportedly mistreated them. Instead—
            7    through the Alien Tort Statute, 28 U.S.C. § 1350 (“ATS”)—they seek to hold two co-
            8    coa suppliers (“Cargill” and “ADM”) and a U.S. food and beverage company, Nestlé
            9    USA, responsible for aiding and abetting the purported crimes, based largely on De-
          10     fendants’ efforts to help combat the global social problem of forced child labor and
          11     their decision to purchase cocoa sourced from Côte d’Ivoire, which supplies 70% of
          12     the world’s cocoa. This implausible and unprecedented theory of liability—after more
          13     than eleven years and multiple opportunities to amend—still does not state a
          14     claim. This failure is particularly acute with respect to Nestlé USA, which is not al-
          15     leged to have owned farms, contracted with farmers, or conducted operations in Côte
          16     d’Ivoire, and is referenced in just three of the 101 paragraphs in Plaintiffs’ complaint.
          17           In 2014, the Ninth Circuit provided Plaintiffs with one final opportunity to
          18     amend. It refrained from ruling on extraterritoriality or actus reus and instead directed
          19     Plaintiffs to: (1) allege facts to demonstrate that they did not seek an extraterritorial ap-
          20     plication of the ATS, noting that the pleadings “ma[d]e no attempt to explain what por-
          21     tion of the conduct underlying [their] claims took place within the United States”; and
          22     (2) describe what acts Defendants engaged in (“actus reus”) to justify proceeding
          23     against them as aiders and abettors. Doe I v. Nestlé USA, Inc., 766 F.3d 1013, 1023,
          24     1026-28 (9th Cir. 2014) (“Doe I”). But Plaintiffs’ SAC brings them no closer to stat-
          25     ing a claim than they were eleven years ago. It does not identify any relevant domestic
          26     conduct or any injury to justify applying the ATS to Plaintiffs’ fundamentally foreign
          27     claims. And, even applying the most lenient actus reus standard, Plaintiffs still fail to
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            1    plead that Nestlé USA—or any other Defendant—engaged in acts that aided and abet-
            2    ted the alleged crimes perpetrated against them.
            3          In fact, the SAC adds no new substantive allegations about Nestlé USA. (See
            4    SAC ¶¶ 1, 20, 35). Instead, it offers a handful of allegations about “Nestlé,” a moniker
            5    used by Plaintiffs to refer collectively to Nestlé USA and two foreign affiliates, Nestlé,
            6    S.A. and Nestlé Ivory Coast, which, in more than a decade, have never been served.
            7          Even these collective group allegations—which are improper on their face and
            8    largely duplicative of Plaintiffs’ prior allegations—do not show how any of these enti-
            9    ties aided and abetted the wrongs allegedly perpetrated against Plaintiffs. Rather, the
          10     allegations focus in substantial part on “Nestlé” policies and cocoa supplier policies
          11     opposing forced labor. Far from supporting Plaintiffs’ claims, the policies confirm that
          12     “Nestlé” contributed to multiple projects to help combat the global social problem of
          13     forced child labor, and it required suppliers to comply with all applicable laws—in-
          14     cluding prohibitions against forced labor. Plaintiffs cannot convert “Nestlé’s” efforts
          15     to help bring about positive social change into wrongful conduct through their own
          16     say-so. Not only does Plaintiffs’ illogical and limitless theory of liability run contrary
          17     to the law, but their attempt to recast corporate social responsibility programs and pub-
          18     lic stances against forced labor as evidence of wrongdoing also threatens grave global
          19     trade implications and could dramatically chill corporate efforts to do social good.
          20           The SAC fails in numerous additional respects as well. It does not plead Article
          21     III standing. It relies on improper group pleading to disregard corporate separateness
          22     and depends on agency and state-law claims that were rejected by this Court in 2010.
          23     It also requires this Court to ignore the judicial restraint and caution that the Supreme
          24     Court has repeatedly called for in ATS cases.
          25           Given Plaintiffs’ repeated inability to state a claim, this action should be put to
          26     rest. Nestlé USA should not be required to litigate a case indefinitely that never al-
          27     leges any wrongdoing, turns on foreign claims, and attempts to punish the very entities
          28     that are trying to help address the global social problem of forced child labor.

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            1                              I.       RELEVANT BACKGROUND
            2    A.      Facts1
            3            Plaintiffs are six unnamed adult citizens and residents of Mali. (SAC ¶¶ 6–11).
            4    They allege that, after being trafficked from Mali, they were forced to work, as minors,
            5    harvesting cocoa on specific “farm[s] and/or farmer cooperative[s]” in Côte d’Ivoire at
            6    various points from 1994 to 2000 or 2001. (Id. ¶¶ 6–11, 70–75).2
            7            Plaintiffs allege that they were victimized by criminals in Mali and Côte
            8    d’Ivoire, including farmers, “locators” who sold and trafficked them (id. ¶¶ 73-74), and
            9    “guards” and “overseers” who forced them to work on cocoa farms, prevented them
          10     from leaving at night, and beat them. (Id. ¶¶ 70–75). None of these wrongdoers are
          11     named as defendants or are alleged to have any relationship with Defendants.
          12             Instead, Plaintiffs target companies that allegedly purchased products sourced
          13     from Côte d’Ivoire, including two cocoa suppliers: Archer Daniels Midland Company
          14     (ADM) and Cargill Incorporated Company (Cargill) (collectively, “Cocoa Suppliers”);
          15     and, Nestlé USA, a North American “food and beverage compan[y].” (Id. ¶¶ 20, 35).
          16             The SAC names four additional defendants that Plaintiffs never served, includ-
          17     ing two other supplier defendants (Cargill Cocoa and Cargill West Africa, S.A.) and
          18     two foreign Nestlé entities: Switzerland-based Nestlé S.A. and Nestlé Ivory Coast. (Id.
          19     ¶ 1). The SAC refers to all seven companies generally as “Defendants” and concluso-
          20     rily alleges that all subsidiaries acted as agents and alter egos of their respective parent
          21     companies. (Id. ¶¶ 27-31).
          22             Plaintiffs concede that none of the Defendants trafficked or enslaved them or
          23     owned the farms on which Plaintiffs worked. Doe I, 766 F.3d at 1017. They also ad-
          24     mit that Defendants did not have the subjective motive to harm children (id. at 1025)
          25     and had policies against unlawful labor practices. See I.B.4, infra. Plaintiffs maintain
          26      1
                      Nestlé USA assumes the truth of adequately pleaded facts and draws reasonable in-
          27          ferences in Plaintiffs’ favor. It does not admit the facts alleged in the SAC.
                  2
                      John Does I-V allege that they escaped their captors by or before 2000. John Doe
          28          VI alleges that he worked three years during a four-year span from 1997 to 2001,
                      without identifying which three-year period he worked. (See SAC ¶ 75).
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            1    that Defendants should, nonetheless, be responsible because they provided agricultural
            2    assistance to farmers, purchased substantial quantities of cocoa from Côte d’Ivoire, and
            3    operated with the “unilateral goal of finding the cheapest sources of cocoa” despite
            4    widespread knowledge of problems with forced labor and substantial power to control
            5    Côte d’Ivoire’s cocoa market. 3 (SAC ¶ 33). Plaintiffs also criticize Defendants for
            6    lobbying and publicizing their stance against forced child labor, but failing to eradicate
            7    it. Id. ¶¶ 52-67. Based on these allegations, Plaintiffs accuse Defendants of aiding and
            8    abetting: (i) forced labor; (ii) cruel, inhuman or degrading treatment, and; (iii) torture.
            9    B.      Procedural History
          10             1.        District Court Proceedings
          11             Plaintiffs filed their original complaint on July 14, 2005, asserting claims on be-
          12     half of John Does I-III and seeking to act on behalf of a purported class of Malians.
          13     (See Dkt. entry dated Jul. 14, 2005).4 They asserted causes of action for aiding and
          14     abetting forced labor, violating the Torture Victim Protection Act, and various state
          15     law torts (including, inter alia, agency and alter ego claims). (Id. ¶¶ 26-33).
          16             After four years of litigation, this Court directed Plaintiffs to file an amended
          17     complaint. (Dkt. 106). They filed an amended complaint (“FAC”) on July 10, 2009,
          18     proceeding under the same theories and including a handful of additional allegations.
          19     (Dkt. 118). This Court dismissed the FAC in a 161-page opinion on September 8,
          20     2010, and concluded that an aider and abettor must (1) carry out acts specifically di-
          21     rected to assist, encourage, or lend moral support to the perpetration of a specific
          22     crime, which have a substantial effect on the perpetration of the crime (actus reus), and
          23     (2) act with the specific intent of substantially assisting the commission of that crime
          24     (mens rea). Doe v. Nestlé, S.A., 748 F. Supp. 2d 1057, 1080, 1087-88 (C.D. Cal.
          25
          26      3
                      Plaintiffs also allege that “Defendants”—not Nestlé USA—provided some general
          27          financial assistance to some farmers, none of which are alleged to be Plaintiffs’
                      captors. (SAC ¶ 37).
          28      4
                      The earlier complaints also named human rights organization, Global Exchange, as
                      a Plaintiff. Global Exchange was dismissed on jurisdictional grounds.
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            1    2010). It concluded that Plaintiffs failed to allege either element with respect to De-
            2    fendants. Id. at 1111. It also concluded that corporations cannot be sued for aiding
            3    and abetting under the ATS and rejected Plaintiffs’ agency theories, TVPA claim, and
            4    state-law claims. Id. at 1113, 1120-24, 1143-45.
            5            2.        Plaintiffs’ Appeal And Waiver
            6            Rather than amend again, Plaintiffs filed an appeal and explicitly waived all
            7    claims except their ATS forced labor claim. (App. Op. Br. at 3 n.2, ECF No. 15). 5
            8            3.        September 4, 2014 Ninth Circuit Decision
            9            The Ninth Circuit disagreed with this Court’s mens rea holding. Doe I, 766
          10     F.3d at 1026. It also held that corporations could be liable for aiding and abetting un-
          11     der the ATS. Id. at 1023. It did not conclude, however, that Plaintiffs stated a cog-
          12     nizable claim. Instead, it directed them to amend on extraterritoriality and actus reus.
          13             Specifically, during Plaintiffs’ appeal, the Supreme Court decided Kiobel v.
          14     Royal Dutch Petroleoum Co., which established that the presumption against extrater-
          15     ritoriality applies to ATS claims. 133 S. Ct. 1659, 1669 (2013). The parties provided
          16     the Ninth Circuit with supplemental briefing on the issue, and although the court ulti-
          17     mately remanded and “decline[d] to resolve the extraterritoriality issue,” it noted that
          18     the FAC “ma[de] no attempt to explain what portion of the conduct underlying the
          19     plaintiffs[’] claims took place within the United States.” Doe I, 766 F.3d at 1027-28.
          20             As for actus reus, the Ninth Circuit recognized that the alleged assistance must
          21     be “substantial,” but declined to determine whether that assistance also must be “spe-
          22     cifically directed” toward the commission of a crime. Id. at 1026. It also noted the po-
          23     tential importance of demonstrating a “causal link” between the commission of the
          24     crime and defendants, and remanded with instructions to allow Plaintiffs to amend the
          25     FAC in light of two international decisions decided after Plaintiffs filed their FAC:
          26     Prosecutor v. Perisic, Case No. IT-04-81-A, (ICTY Feb. 28, 2013) (“Perisic”) and
          27     Prosecutor v. Taylor, Case No. SCSL-03-01-A (SCSL Sept. 26, 2013) (“Taylor”). Id.
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                      As such, only Count I of the SAC should be considered by this Court.
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            1    Defendants sought, but were unable to secure, en banc and Supreme Court review. But
            2    see Doe I v. Nestlé USA, Inc., 788 F.3d 946 (9th Cir. 2015) (Bea, J., dissenting).
            3          4.        July 14, 2016 Second Amended Complaint
            4          Eleven years after filing their original Complaint, and nearly two years after the
            5    Ninth Circuit’s decision, Plaintiffs filed the SAC. The SAC does not add a single new
            6    substantive allegation about Nestlé USA (SAC ¶¶ 1, 20, 35). In fact, the only specific
            7    allegations about Nestlé USA are that it “is one of the largest food and beverage com-
            8    panies in the U.S.” and “is one of the largest purchasers, manufacturers, and retail
            9    sellers of cocoa products in North America.” (SAC ¶¶ 20, 35).
          10           The SAC contains 16 paragraphs in total that refer to any Nestlé corporate entity
          11     (SAC ¶¶ 1, 19, 20, 21, 33, 35, 38, 52-58, 67, 69). Just a handful of these paragraphs
          12     contain new allegations. (Id. ¶¶ 35, 38, 52-58, 67, 69). Referring collectively to three
          13     different Nestlé corporate entities, without distinguishing among them, Plaintiffs make
          14     the following new allegations:
          15     • Paragraph 35 alleges in relevant part that “Nestlé” (presumably referring to Nestlé
          16        S.A.) established a major operation in the U.S. through Nestlé USA. It claims that
          17        every major operational decision about “Nestlé’s” U.S. market was made in or ap-
          18        proved in the U.S., that “Nestlé” had complete control over its cocoa production op-
          19        erations in Côte d’Ivoire and the ability and control in the U.S. to take necessary
          20        steps to eradicate the practice of using forced child labor to harvest cocoa in Côte
          21        d’Ivoire. It also alleges that “Nestlé” regularly had employees from their Swiss and
          22        U.S. headquarters inspecting their operations in Côte d’Ivoire and reporting back so
          23        that U.S.-based decision-makers had accurate facts on the ground. (SAC ¶ 35).
          24     • Paragraph 38 adds that “Nestlé” (presumably referring to Nestlé Ivory Coast) pro-
          25        cessed cocoa near Odienne in Côte d’Ivoire. (SAC ¶ 38).
          26     • Paragraphs 52-55 refer to four previously cited Nestlé S.A. publications that de-
          27        scribe 2005-2006 efforts to help ensure that “Nestlé” supply chains are free from
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            1       forced child labor. (SAC ¶¶ 52-55). The new allegations state these were pub-
            2       lished in English and accessible in the U.S. (Id.)
            3    • Paragraph 56 refers to a Nestlé S.A. document from 2013, entitled “The Nestle
            4       Commitment on Child Labour In Agricultural Supply Chains.” This document,
            5       also available in English and online, states that the company is against all forms of
            6       exploitation of children and is firmly committed to actions to eradicate child labor
            7       from its agricultural supply chains. (See SAC ¶ 56).
            8    • Paragraph 57 quotes from the 2013 Nestlé S.A. Supplier Code, which confirms
            9       that it imposes non-negotiable minimum standards on suppliers and reflects the
          10        company’s stance against child labor. (See SAC ¶ 57).
          11     • Finally, Plaintiffs include new allegations suggesting that the above statements im-
          12        plied to the U.S. market that “Nestlé” was combatting child labor, which Plaintiffs
          13        claim merely protected “Nestlé’s” ability to benefit from the alleged cost savings of
          14        aiding and abetting child labor. (SAC ¶¶ 58; 67 n.4, 69).
          15           The SAC also adds three new John Does (IV-VI). The new John Does ceased
          16     working on cocoa farms in 1998, 1999, and 2000-2001, respectively.
          17                               II.       ISSUES TO BE DECIDED
          18           1. Whether Plaintiffs’ claims require extraterritorial application of U.S. law.
          19           2. Whether Plaintiffs allege that Nestlé USA performed the requisite actus reus.
          20           3. Whether Plaintiffs lack standing to sue Nestlé USA.
          21           4. Whether Plaintiffs’ claims should be dismissed on other grounds.
          22                                 III.       LEGAL STANDARDS
          23           Federal Rule of Civil Procedure 8(a) requires a plaintiff to plead each claim with
          24     sufficient specificity to give each defendant fair notice of what the claim is and the
          25     grounds upon which it rests. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555
          26     (2007). A complaint must be dismissed under Rule 12(b)(6) unless it “contain[s] suffi-
          27     cient factual matter, accepted as true, to state a claim to relief that is plausible on its
          28     face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotations omitted). Courts should

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            1    “strip” the complaint “of conclusory statements, legal conclusions disguised as factual
            2    allegations, and group pleading allegations.” Top Rank, Inc. v. Haymon, 2015 WL
            3    9948936, at 9, 13 (C.D. Cal. Oct. 16, 2015). After doing so, the remaining factual alle-
            4    gations must do more than “create[] a suspicion [of] a legally cognizable right of ac-
            5    tion”; they must “raise a right to relief above the speculative level.” Twombly, 550
            6    U.S. at 555 (quotations omitted). Likewise, 12(b)(1) requires allegations with “suffi-
            7    cient factual matter” to “state a claim to relief that is plausible on its face. . .” Teren-
            8    kian v. Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir. 2012) (quotations omitted).
            9                                        IV.       ARGUMENT
          10           The SAC neither provides a basis to apply U.S. law to Plaintiffs’ fundamentally
          11     foreign claims nor alleges conduct that satisfies any actus reus standard. It likewise
          12     fails to allege standing with respect to Nestlé USA, relies on improper group pleading,
          13     and runs contrary to Sosa and its progeny by asking this Court to create a new action
          14     with significant foreign policy and trade implications.
          15     A.    Plaintiffs Seek An Extraterritorial Application Of The ATS
          16           The SAC fails to plead a domestic application of the ATS—and thus fails under
          17     Kiobel and RJR—for multiple reasons. First, Plaintiffs have not added any new allega-
          18     tions about Nestlé USA and, therefore, still have not pleaded any facts linking Plain-
          19     tiffs’ claims to the U.S. Second, Plaintiffs do not allege any relevant domestic con-
          20     duct, which means that their claims should be dismissed. Finally, applying the “focus”
          21     test, it is clear that the relevant conduct (and Plaintiffs’ injuries themselves) all oc-
          22     curred in the Ivory Coast. None of the U.S. conduct alleged by Plaintiffs comes close
          23     to justifying application of U.S. law to Plaintiffs’ fundamentally foreign claims.
          24           1.        Relevant Legal Principles
          25           “United States law governs domestically but does not rule the world.” RJR
          26     Nabisco, Inc. v. European Comm., 136 S. Ct. 2090, 2100 (2016) (quotations omitted).
          27     Hence, the presumption against extraterritoriality: absent clearly expressed congres-
          28     sional intent, when a statute gives no indication of an extraterritorial application, it has

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            1    none. Id. The presumption helps guard against international discord that can result
            2    from applying U.S. law to foreign conduct. Id.
            3            To limit the possibility of these adverse effects, the Supreme Court established
            4    in Kiobel and RJR a two-step inquiry to determine whether a U.S. statute can govern
            5    conduct that occurs outside of the U.S. First, courts must ask “whether the statute [au-
            6    thorizing the civil action] gives a clear, affirmative indication that it applies extraterri-
            7    torially.” Id. at 2101. The ATS does not. Id.
            8            Second, for non-extraterritorial statutes, like the ATS, courts then look to the
            9    statute’s “focus.” Id.6 If the conduct relevant to the statute’s focus occurred in the
          10     U.S., then the case involves a permissible “domestic application” of the statute, even if
          11     other conduct occurred abroad; “but if the conduct relevant to the focus occurred in a
          12     foreign country, then the case involves an impermissible extraterritorial application re-
          13     gardless of any other conduct that occurred in U.S. territory.” Id. (emphasis added);
          14     see also Kiobel, 133 S. Ct. at 1669; accord Mujica v. Airscan Inc., 771 F.3d 580, 591-
          15     92 (9th Cir. 2014) (applying touch and concern test to conclude that plaintiffs did not
          16     state a domestic application of the ATS because the “basis of Plaintiffs’ claims exclu-
          17     sively concern conduct that occurred” overseas).
          18             The Supreme Court clarified in RJR that where there is no relevant conduct al-
          19     leged to have occurred in the United States, a case can be dismissed without the need
          20     to engage in the focus test. RJR, 136 S. Ct. at 2101.
          21             2.        As To Nestlé USA, The SAC Does Nothing To Cure The
                                   Extraterritorial Deficiencies Of The FAC
          22
          23             In its 2014 decision, the Ninth Circuit did not make a ruling on extraterritorial-
          24     ity. Instead, it directed Plaintiffs to amend their complaint, noting that the pleadings
          25     “ma[d]e no attempt to explain what portion of the conduct underlying [P]laintiffs’
          26     claims took place within the United States.” Doe I, 766 F.3d at 1028. But a compari-
          27     son of the First and Second Amended Complaints reveals that the allegations specific
          28      6
                      RJR made clear that the “focus” test applies in the ATS context, resolving any am-
                      biguity created by the Ninth Circuit in this case. See Doe I, 766 F.3d at 1028.
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            1    to Nestlé USA are substantively identical to the allegations in the FAC. (Compare
            2    FAC ¶¶ 1, 19 with SAC ¶¶ 1, 20, 35 (¶ 35 repeats allegations about Nestlé USA from
            3    ¶ 20)). Therefore, Plaintiffs still have not pleaded which conduct “took place within
            4    the United States.” On this basis alone, this Court should dismiss Nestlé USA.
            5          3.        Because All Of The Relevant Conduct Occurred Overseas, Plaintiffs
                                 Fail To State A Domestic Application Of The ATS
            6
            7          Even if this Court considers the improper group pleading with regard to “Nestlé”
            8    and Defendants as relevant to Plaintiffs’ claims against Nestlé USA, like Kiobel, all of
            9    the relevant conduct and Plaintiffs’ injuries occurred outside of the U.S. See 133 S. Ct.
          10     1669. Accordingly, the SAC can be dismissed as extraterritorial without resort to the
          11     focus test. RJR, 136 S. Ct. at 2101 (explaining that it was unnecessary to engage in the
          12     “focus” test in Kiobel because “all the relevant conduct” took place outside the U.S.).
          13           Put simply, Plaintiffs allege they were trafficked from Mali to Côte d’Ivoire,
          14     forced to work on farms in Côte d’Ivoire, and harmed in Côte d’Ivoire. (SAC ¶¶ 13,
          15     70–76). None of that conduct, nor Plaintiffs’ injuries, occurred in the U.S. And none
          16     of their allegations regarding “Nestlé” and “Defendants”—old or new—suggest any
          17     relevant U.S. conduct. See infra IV.B. (Plaintiffs’ failure to allege actus reus).
          18           4.        The SAC Fails To Allege A Domestic Application Of The ATS Under
                                 The Focus Test
          19
                       Even assuming arguendo that it is necessary to engage in the second step of the
          20
                 extraterritoriality inquiry by applying the focus test, it is clear that the relevant conduct
          21
                 occurred overseas, as did Plaintiffs’ injuries, and this case therefore “involves an im-
          22
                 permissible extraterritorial application[,] regardless of any other conduct that occurred
          23
                 in U.S. territory.” RJR, 136 S.Ct. at 2101.
          24
                                 a.     Alleged Conduct
          25
                       For purposes of the ATS, circuits applying the “focus” test since Kiobel have
          26
                 held “that the ‘focus’ of the ATS is on conduct and on the location of that conduct.”
          27
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            1    See, e.g., Mastafa v. Chevron Corp., 770 F.3d 170, 185 (2d Cir. 2014); Doe v. Drum-
            2    mond Co., 782 F.3d 576, 592 (11th Cir. 2015), cert. denied, 136 S. Ct. 1168 (2016).
            3    RJR also places emphasis on the place of the injury. RJR, 136 S. Ct. at 2106, 2111 (re-
            4    quiring allegations of a “domestic injury” to apply RICO private right of action to con-
            5    duct outside of the U.S.). Here, all of the relevant conduct and Plaintiffs’ injuries oc-
            6    curred in Côte d’Ivoire and Mali. Plaintiffs allege they were trafficked from Mali and
            7    forced to work in Côte d’Ivoire on cocoa farms. (SAC ¶¶ 6-11). To the extent they al-
            8    lege that Defendants offered training and supplies, or assistance to local farmers, that
            9    also allegedly occurred in Côte d’Ivoire.
          10           Even if this Court were to focus on the secondary conduct that Plaintiffs allege,
          11     primarily about “Nestlé” and “Defendants,” as part of their aiding and abetting theory,
          12     Plaintiffs still cannot justify application of U.S. law to their claims. Indeed, Plaintiffs
          13     allege the following connections: (1) U.S. Corporate Citizenship; (2) Defendants’ con-
          14     trol of the Côte d’Ivoire cocoa market; (3) U.S. lobbying; (4) U.S. operational deci-
          15     sions; (5) Inspections in Côte d’Ivoire by U.S. personnel; and (6) U.S. publications and
          16     press. These allegations fail basic pleading standards, are irrelevant to the question of
          17     whether Nestlé USA—or any of the Defendants—aided and abetted the crimes against
          18     Plaintiffs, and provide no basis to apply U.S. law to Plaintiffs’ foreign claims.
          19           1. U.S. Corporate Citizenship and U.S. Conduct by Non-Parties Nestlé S.A.
          20     and Nestlé Ivory Coast. As they did in the FAC, Plaintiffs continue to allege that
          21     Nestlé USA is incorporated and operates in the U.S.; that its parent, Nestlé S.A., trades
          22     stock and banks in the U.S.; and that Nestlé Ivory Coast exports cocoa to North Amer-
          23     ica. (SAC ¶¶ 19-21, 35). First, corporate citizenship is not enough to overcome the
          24     extraterritoriality hurdle. See Kiobel, 133 S. Ct. at 1669; Mujica, 771 F.3d at 594.
          25     Second, courts have routinely held that these kinds of generic allegations do not justify
          26     extraterritorial application of the ATS. See Mastafa, 770 F.3d at 184-85. Finally, the
          27     conduct of non-parties, Nestlé S.A. and Nestlé Ivory Coast, evidence extraterritorial
          28     activity—not U.S. activity—and is irrelevant in any event, as neither Nestlé S.A. nor

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            1    Nestlé Ivory Coast have ever been served and Plaintiffs waived all agency theories af-
            2    ter this Court ruled against them in its prior decision. See supra at I.B.2.
            3          2. Control Over Côte d’Ivoire Cocoa And Failure To Eradicate. Plaintiffs
            4    again allege that “Nestlé” (and the other “Defendants”) controlled cocoa operations
            5    from the U.S. and could have, but failed to, “take[] any necessary steps to eradicate”
            6    forced child labor. (SAC ¶ 35). These allegations fail for multiple reasons.
            7          First, the Ninth Circuit remanded and cautioned that Plaintiffs needed to amend
            8    to address their extraterritoriality problems. Doe I, 766 F.3d at 1028. Second, as this
            9    Court previously explained, such an omission—i.e., a failure to act from the U.S.—is
          10     not relevant to Plaintiffs’ aiding and abetting claim. Doe, 748 F. Supp. 2d at 1109. Fi-
          11     nally, Plaintiffs have not satisfied basic pleading standards. As their own sources ex-
          12     plain, countless suppliers and companies in the cocoa industry purchase cocoa from
          13     Côte d’Ivoire, which supplies 70% of the world’s cocoa. (SAC ¶¶ 33, 52-58). Plain-
          14     tiffs cannot plausibly allege that Nestlé USA or any “Nestlé” corporate entity (or even
          15     all three Defendants at issue here) controlled the market or had the power to eradicate
          16     forced child labor. See Saldana v. Occidental Petroleum Corp., 774 F.3d 544, 553-54
          17     (9th Cir. 2014) (rejecting as implausible claim that private company controlled the Co-
          18     lombian army). Indeed, this allegation is merely a “naked assertion[] devoid of further
          19     factual enhancement”—it says nothing about what “Nestlé” allegedly controlled and
          20     how that possibly relates to Plaintiffs’ claims. See Iqbal, 556 U.S. at 678; see also Mu-
          21     jica, 771 F.3d at 592 (rejecting allegations that rely on “mere conjecture”).
          22           3. U.S. Lobbying Efforts. Plaintiffs also continue to point to alleged “lobbying
          23     efforts” by the “U.S. chocolate industry, including Defendants[,]” which do nothing to
          24     justify application of the ATS to the wrongs alleged here. (SAC ¶¶ 63–67). First, the
          25     “focus” of the ATS does not—and cannot—include lobbying efforts protected by the
          26     First Amendment. See, e.g., United States v. Wallace, 531 F.3d 504, 506 (7th Cir.
          27     2008) (“[T]he first amendment protects self-interested campaigning.”); Sosa v.
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            1    DIRECTV, Inc., 437 F.3d 923, 931 (9th Cir. 2006) (courts must “construe federal stat-
            2    utes so as to avoid burdening conduct that implicates the protections afforded by the
            3    Petition Clause unless the statute clearly provides otherwise”). Further, courts have
            4    held that policy decisions in the U.S. are not enough to rebut the presumption against
            5    extraterritoriality. Drummond, 782 F.3d at 598.7
            6            4. U.S. Operational Decisions. In an attempt to offer a new allegation, the SAC
            7    tautologically claims that “[e]very major operational decision regarding Nestlé’s U.S.
            8    market is made in or approved in the U.S.” (SAC ¶ 35). But this does not justify appli-
            9    cation of U.S. law either. Plaintiffs’ generic allegations do not explain how decisions
          10     regarding the “U.S. market” are relevant to their claims. For example, Plaintiffs do not
          11     allege that these decisions concerned the working conditions on farms (farms that
          12     “Nestlé” is not alleged to have owned, operated or contracted with). Nor do Plaintiffs
          13     allege that these “operational decisions” concerned Plaintiffs or their alleged captors.
          14             Further, this “Court may not presume that conduct relevant to the ATS claims
          15     occurred as part of these routine business practices.” Doe v. Exxon Mobil Corp., 2015
          16     WL 5042118, *13 (D.D.C. July 6, 2015); see also Drummond, 782 F.3d at 598-99 (re-
          17     jecting suit where “Plaintiffs allege that generally, Defendants made funding and pol-
          18     icy decisions in the United States”); Mujica, 771 F.3d at 592. And courts have consist-
          19     ently held that “[a]llegations of general corporate supervision are insufficient to rebut
          20     the presumption against [extra]territoriality.” Balintulo v. Ford Motor Co., 796 F.3d
          21     160, 168 (2d Cir. 2015); Cardona v. Chiquita Brands, 760 F.3d 1185, 1189–90 (11th
          22     Cir. 2014) (same); Exxon Mobil Corp., 2015 WL 5042118 at *13.
          23             This allegation also squarely contradicts Plaintiffs’ assertions elsewhere in the
          24      7
                      The proposed legislation would have merely provided the FDA with $250,000 to
                      develop an FDA label certifying chocolate as “slave free.” In contrast, the Harkin
          25          Engel Protocol proposed “credible, mutually-acceptable, voluntary, industry-wide
                      standards of public certification . . . that cocoa beans . . . have been grown and/or
          26          processed without any of the worst forms of child labor.” Compare H. Amend.
                      142, H.R. 2330 (2001) (in 147 Cong. Rec. H3781 (daily ed. June 28, 2001)) with
          27          CMA Protocol for the Growing and Processing of Cocoa Beans and Their Deriva-
                      tive Products in a Manner that Complies with ILO Convention 182 Concerning the
          28          Prohibition and Immediate Action for the Elimination of the Worst Forms of Child
                      Labor (2001).
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            1    SAC that Nestlé USA is a “wholly-owned subsidiary of Nestlé, SA,” a parent company
            2    “[b]ased in Switzerland,” and that “the parent entities control every aspect of the sub-
            3    sidiaries’ operations, particularly with respect to the sourcing, purchasing, manufactur-
            4    ing, distribution, and/or retailing of cocoa and cocoa derived products.” (SAC ¶¶ 19-
            5    20, 30). The Court should disregard allegations of U.S. based control for that reason
            6    alone. See Airs Aromatics, LLC v. Opinion Victoria’s Secret Stores Brand Mgmt.,
            7    Inc., 744 F.3d 595, 600 (9th Cir. 2014) (“A party cannot amend pleadings to directly
            8    contradict an earlier assertion made in the same proceeding.” (citation omitted)).
            9          5. Inspections In Côte d’Ivoire By U.S. Personnel. Plaintiffs now allege that
          10     employees from “U.S. headquarters inspect[ed] [Nestlé Ivory Coast] operations in
          11     Côte D’Ivoire.” (SAC ¶ 35). This allegation does not describe U.S. conduct; the in-
          12     spections, after all, allegedly occurred “in Côte D’Ivoire.” And the allegation that
          13     some of those who participated in those inspections were U.S. employees makes no
          14     difference. As the Ninth Circuit explained in Mujica, the fact that some of the “partici-
          15     pants” in an overseas bombing were “employees” of a U.S. company does “not support
          16     a sweeping inference that [the U.S. company], through actions in the United States,
          17     took sufficient part in the bombing to be subject to ATS jurisdiction under Kiobel.”
          18     771 F.3d at 592 n.6 (emphasis in original).
          19           Moreover, the “operations” of “Nestlé” in Côte d’Ivoire consisted only of pro-
          20     cessing, not farming, cocoa beans (SAC ¶ 21); thus, alleged inspections of those pro-
          21     cessing operations would not have related to abuses on cocoa farms.
          22           6. U.S. Publications And Press. Plaintiffs added the words “published in the
          23     U.S. in English and targeting the U.S. market” at the beginning of a handful of para-
          24     graphs describing previously cited Nestlé S.A. policies and supplier standards that
          25     clearly stand against forced child labor. They also add new allegations about 2013
          26     policies. (SAC ¶¶ 56-57). Plaintiffs contend that these policies evidence efforts in the
          27     U.S. to deny to U.S. consumers that they were aiding and abetting forced child labor.
          28

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            1    (Id. ¶¶ 51, 58). These allegations fail to establish a relevant U.S. link for several rea-
            2    sons.
            3            First, the publication timelines do not match Plaintiffs’ allegations. Plaintiffs re-
            4    fer to (primarily Nestlé S.A.) publications from 2005-2013 (see SAC ¶¶ 52-57), but
            5    Plaintiffs’ alleged harm ended between 1998 and 2001 (see SAC ¶¶ 70–75).
            6            Second, Plaintiffs’ allege only that these publications “falsely assured” U.S.
            7    consumers (SAC ¶¶ 51-52) or were part of a “public relations campaign” (SAC
            8    ¶ 69)—they do not allege how these publications assisted forced child labor. To the
            9    contrary, these publications evidence a clear effort to combat unlawful practices, in-
          10     cluding forced child labor; they do not seek to enable them. At best, these allegations
          11     appear to be remnants of theories brought by the long dismissed Plaintiff Global Ex-
          12     change, which attempted to act on behalf of “American consumers.” (See FAC ¶ 17).
          13             Third, the publications are far more benign than the propaganda specifically di-
          14     rected to the U.S. that other courts have held insufficient to justify a domestic applica-
          15     tion of law. See Gang v. Zhizhen, 2016 WL 1275026, *3 (D. Conn. Mar. 31, 2016) (al-
          16     legations that defendant “specifically directed” his propaganda campaign to the U.S.
          17     through his website were insufficient to survive after Kiobel).
          18                    b.     Alleged Injuries
          19             Finally, even if relevant conduct were deemed to have occurred in the U.S., the
          20     SAC should still be dismissed because Plaintiffs’ alleged injuries all occurred over-
          21     seas. In RJR, the Supreme Court held that RICO’s private right of action reaches only
          22     “domestic injury,” no matter where the conduct underlying the substantive RICO vio-
          23     lation occurred. 136 S. Ct. at 2106. The same logic applies to the ATS. See id.; see
          24     also Sosa v. Alvarez-Machain, 542 U.S. 692, 705 (2004) (explaining that courts in
          25     “tort cases” generally apply “the law of the place where the injury occurred”);
          26     Taghadomi v. United States, 401 F.3d 1080, 1084 (9th Cir. 2005) (“The locus of a tort
          27     is the place where injury takes effect.”). In this case, all of Plaintiffs’ alleged injuries
          28     occurred abroad. (SAC ¶¶ 6-11, 70-75).

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            1    B.    Plaintiffs Have Not Alleged The Requisite Actus Reus
            2          Plaintiffs also fail to allege actus reus. To allege aiding and abetting, a plaintiff
            3    must adequately plead that the defendant had the requisite mental state (mens rea) and
            4    provided the requisite support in the commission of the crime (actus reus). In inter-
            5    preting the standard for actus reus, Plaintiffs argued that a showing of “substantial as-
            6    sistance” was sufficient. Defendants argued—and this Court agreed—that interna-
            7    tional law also required that the substantial assistance be specifically directed toward
            8    the commission of a specific crime. Doe, 748 F. Supp. 2d at 1081. On appeal, the
            9    Ninth Circuit “decline[d] to adopt an actus reus standard.” Doe I, 766 F.3d at 1026.
          10     Instead, citing two international law opinions decided after Plaintiffs filed the FAC—
          11     Perisic and Taylor—the Ninth Circuit suggested the actus reus standard focused more
          12     on the existence of a causal link between the defendants and the commission of the
          13     crime. Id. It then directed Plaintiffs to amend in light of these authorities. Perisic and
          14     Taylor confirm that this Court was correct—the “specifically directed” standard is the
          15     proper standard, and Plaintiffs’ allegations do not satisfy that standard. Even applying
          16     a substantial assistance or “causal link” standard, the SAC still fails to state a claim.
          17           1.        Perisic And Taylor Confirm The Propriety Of Using The “Specific Di-
          18                     rection” Standard

          19           The authority of federal courts under the ATS is “limited . . . to recognizing
          20     causes of action only for alleged violations of international law norms that are ‘spe-
          21     cific, universal, and obligatory.’” Kiobel, 133 S. Ct. at 1665 (quoting Sosa, 542 U.S. at
          22     732). Therefore, this Court may only recognize an actus reus standard that is “univer-
          23     sal[ly]” accepted in international law. Perisic and Taylor—cases involving some of the
          24     most heinous massacres and other war crimes of the last century—not only underscore
          25     how far afield it is to target efforts to combat forced labor as “aiding and abetting,” but
          26     also demonstrate that Perisic’s “specific direction” formulation is the only standard
          27     with sufficient universal acceptance.
          28           In Perisic, the International Criminal Tribunal for the Former Yugoslavia

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            1    (“ICTY”) addressed whether Perisic, the Chief of the Yugoslav Army General Staff,
            2    was liable for aiding and abetting atrocities committed in Sarajevo and Srebrenica by
            3    Army of the Republika Srpska (“VRS”). Perisic, ¶¶ 2, 3. The prosecution’s theory
            4    was that Perisic was responsible for the atrocities because he “administered and facili-
            5    tated the provision of large-scale military assistance to the VRS.” Id. ¶ 64. The evi-
            6    dence showed that some of the assistance was sent to VRS units that Perisic knew to
            7    be committing crimes. Id. ¶¶ 66, 68-69. Even so, the tribunal held that Perisic was not
            8    liable for aiding and abetting. Id. ¶ 74. According to the tribunal, Perisic’s aid “was
            9    directed towards the VRS’s general war effort rather than VRS crimes.” Id. ¶¶ 68-69.
          10     Since the aid was general, and not “specifically directed” toward the alleged crimes,
          11     the tribunal held that Perisic did not engage in the actus reus required for aiding and
          12     abetting liability. Id. 8 It explained that the “specifically directed” element was a nec-
          13     essary component of the aiding and abetting theory because the defendant was “re-
          14     mote” and not “physically present during the preparation or commission of crimes,”
          15     such that his culpable involvement in the crimes would “be self-evident.” Id. ¶¶ 38-39.
          16             In Taylor, the Appeals Chamber of the Special Court for Sierra Leone consid-
          17     ered whether Taylor, the notorious former Liberian President, could be liable for, inter
          18     alia, aiding and abetting 11 counts of crimes against humanity. See Taylor, ¶ 13. The
          19     court held actus reus is “established by assistance, encouragement or moral support
          20     that has a substantial effect on the crimes” and noted the significance of ensuring “that
          21     there is a sufficient causal link—a criminal link—between the accused and the com-
          22     mission of the crime before an accused’s conduct may be adjudged criminal.” Id. ¶¶
          23     368, 390. The tribunal thus held that there was a “causal link between Taylor’s acts
          24     and conduct and the crimes” because he provided “extensive” and “sustained” opera-
          25     tional support, as well as “arms and ammunition,” to paramilitary forces that otherwise
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                      After Perisic, a different ICTY appellate panel held that the “specifically directed”
          27          standard is not part of the actus reus requirement. Prosecutor v. Šainović, Case No.
                      IT-05-87-A, Appeal Judgment (ICTY Jan. 23, 2014). However, when the Perisic
          28          panel was asked to reconsider its opinion in light of Šainović, it declined. Perisic,
                      IT-04-81-T, Decision on Motion for Reconsideration (ICTY Mar. 20, 2014).
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            1    would not have had the supplies needed to commit atrocities. Id. ¶¶ 514-20.
            2          This discussion clarifies that Perisic’s “specific direction” standard is the only
            3    universally accepted actus reus standard. Although Taylor expressly “[did] not agree
            4    with the Perisic Appeals Chamber[]” on this issue, (id. ¶ 480), Taylor articulated a
            5    broader understanding of conduct that could constitute aiding and abetting. Sosa re-
            6    quires this Court to apply the more demanding “specific direction” standard. The SAC
            7    makes no attempt to allege specific direction and therefore fails on this basis alone.
            8          2.        Plaintiffs’ Allegations Fail To Satisfy Any Actus Reus Standard
            9          The SAC also fails to allege actus reus under the “substantial assistance” stand-
          10     ard and fails to articulate any “causal link” between Defendants and the alleged crimes.
          11                     a.     Nestlé USA
          12           The SAC mentions Nestlé USA three times—once listing it as a Defendant
          13     (SAC ¶ 1) and twice describing it as a “wholly-owned subsidiary of Nestlé, S.A.” with
          14     U.S. operations (SAC ¶¶ 20, 35). Though Plaintiffs had eleven years to perfect these
          15     allegations, they still fail to describe “substantial assistance,” or a “causal link.” This
          16     Court’s analysis can, and should, end there.
          17                     b.     “Nestlé” Entities And “Defendants”
          18           Even considering Plaintiffs’ group allegations about “Nestlé” and “Defendants,”
          19     the SAC fails to adequately allege any possible formulation of the actus reus standard.
          20           Control and Failure to Eradicate Forced Child Labor in Côte d’Ivoire. Plain-
          21     tiffs allege that “Nestlé,” Defendants, and other multinational corporations had “com-
          22     plete control” over cocoa operations in Côte d’Ivoire and the use of child labor on the
          23     farms, and, from the U.S., could have “eradicate[d] the practice of using child slaves to
          24     harvest its cocoa in Côte d’Ivoire” (SAC ¶¶ 33, 35, 38, 51, 56–58). Specifically, as
          25     they claimed in the FAC, Plaintiffs allege Defendants were “able to dictate . . . labor
          26     conditions” through the exclusive supplier/buyer relationships which they used to en-
          27     sure an “ongoing, cheap supply of cocoa” and that Nestlé processed cocoa near Odi-
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            1    enne in Côte d’Ivoire. (SAC ¶¶ 36, 38). These allegations are nothing more than na-
            2    ked assertions devoid of further factual enhancement. Iqbal, 556 U.S. at 678.
            3           As explained above, “judicial experience and common sense” make clear that it
            4    is implausible to suggest Nestlé USA, or even all three Defendants, control Côte
            5    d’Ivoire and could eradicate forced child labor on their own. See supra IV.A.4(a)(2).
            6           Plaintiffs also fail to allege either “substantial assistance” or a “causal link.”
            7    Here, Plaintiffs claim an omission—the failure to eradicate forced child labor—not an
            8    affirmative criminal act. First, as this Court previously explained, “omissions, moral
            9    support, and tacit approval and encouragement” are “not sufficiently well-defined and
          10     universally accepted to constitute an actionable international law norm under Sosa.”
          11     Doe I, 748 F. Supp. 2d at 1102, 1109. Second, “[t]o the extent this type of liability ex-
          12     ists,” which it does not, “an ‘omission’ or ‘failure to act’ only gives rise to aiding and
          13     abetting liability if ‘there is a legal duty to act’” and “all of the . . . cases . . . involve
          14     defendants who held a position of formal authority.” Id. at 1104-05 (emphasis in origi-
          15     nal). Otherwise, “there is no criminal liability . . . for mere failure to act.” William A.
          16     Schabas, General Principles of Criminal Law in the ICC Statute, 6 Eur. J. Crime Crim.
          17     L. Just. 400, 412 (1998). Plaintiffs do not allege that any Defendant, much less Nestlé
          18     USA, had any legal duty to act in this case, and there is no plausible argument that any
          19     Defendant had a “position of formal authority.”
          20            Finally, Plaintiffs do not allege (nor can they) that “Nestlé” or “Defendants” dic-
          21     tated that forced labor be used in their supply chain or that any profits made by local
          22     farmers from poor labor practices would be passed up the supply chain to Defendants.
          23     The sources cited by Plaintiffs suggest just the opposite. For example, the first pillar
          24     of “Nestlé’s” Supplier Code is a “prohibition against child labor.” (SAC ¶¶ 56-57).
          25            Employee Visits, Technical Assistance, and Training. In addition to their re-
          26     prised allegations that “Defendants” provided some Ivorian farmers with certain finan-
          27     cial and technical assistance and training, Plaintiffs also now allege that “Nestlé” sent
          28     unidentified Swiss and U.S. employees—at an unidentified point in time—to inspect

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            1    their operations in Côte d’Ivoire so that “U.S.-based decision-makers had accurate
            2    facts on the ground.” (SAC ¶¶ 35, 37, 66). Plaintiffs’ old allegations fail for the same
            3    reasons they did six years ago, and their new allegations about employee visits fail to
            4    allege substantial assistance or suggest any causal link to their alleged injuries.
            5          First, as in their FAC, Plaintiffs still fail to show how any of “Defendants’” al-
            6    leged assistance or training substantially assisted the crimes perpetrated against Plain-
            7    tiffs. This Court already held that the same allegations regarding financial assistance
            8    reflected mere “commercial transactions” intended to facilitate the Defendants’ access
            9    to cocoa. Doe I, 748 F. Supp. 2d at 1100. Likewise, Plaintiffs’ allegations concerning
          10     “technical assistance” “establish, at most, that Defendants generally assisted the Ivo-
          11     rian farmers in the act of growing crops and managing their business—not that De-
          12     fendants substantially assisted the farmers in the acts of committing human rights
          13     abuses.” Id. at 1102 (emphasis in original). The law of nations “does not impose lia-
          14     bility for declining to boycott a pariah state,” and Plaintiffs cannot punish companies
          15     for “simply doing business” in Côte d’Ivoire. See In re S. African Apartheid Litig.,
          16     617 F. Supp. 2d 228, 257 (S.D.N.Y. 2009). Nor do Plaintiffs allege that any Nestlé en-
          17     tity provided support to any of the farmers allegedly responsible for harming Plaintiffs.
          18           Additionally, Plaintiffs’ own sources suggest that Defendants’ assistance would
          19     have helped improve the farming conditions and therefore, potentially helped minimize
          20     conditions that could incentivize farmers to use forced or child labor. For example,
          21     Plaintiffs cite “Nestlé’s” Commitment to Africa Brochure which states that “Nestlé”
          22     provides technical assistance relating to “income generation[,] . . . new strategies to
          23     deal with crop infestation, [and] . . . specific interventions designed to address issues of
          24     child labour.” (SAC ¶¶ 53-58). The only causal link suggested by Plaintiffs’ allega-
          25     tions, is that the assistance provided by Defendants helped to reduce, not facilitate, the
          26     global social problem. At best, Plaintiffs’ allegations are similar to those in Doe I v.
          27     Cisco Sys., Inc., where plaintiffs alleged Cisco was liable for aiding and abetting hu-
          28     man rights abuses because it created software that provided the means by which the

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            1    Chinese Communist Party tracked, detained, and ultimately tortured them. 66 F. Supp.
            2    3d 1239, 1241, 1248 (N.D. Cal. 2014). Applying the “substantial effect” standard, the
            3    court found that plaintiffs’ allegations were conclusory and insufficient, in part be-
            4    cause the Cisco product had many uses that were not tied to human rights abuses. Id.
            5    at 1248. Likewise, here, there is no doubt that the alleged assistance provided by De-
            6    fendants has non-criminal purposes. Indeed, Plaintiffs have conceded as much.
            7          Further, Plaintiffs’ vague allegations that “Nestlé” employees inspected “Nestlé”
            8    operations in Côte d’Ivoire and reported back to the U.S. about those inspections do
            9    nothing to show substantial assistance to Plaintiffs’ alleged assailants or a causal link
          10     between “Nestle” and Plaintiffs’ harm. Indeed, Plaintiffs allege that Nestlé Ivory
          11     Coast had a processing plant – not a cocoa farm. And the absence of any specific alle-
          12     gation regarding these alleged “inspections” likewise speaks volumes: (1) Plaintiffs do
          13     not allege that any Nestlé entity owned or operated farms in Côte d’Ivoire—certainly
          14     none that Plaintiffs worked; (2) they do not allege that there was any enslavement or
          15     mistreatment at Nestlé Ivory Coast’s facility; (3) they do not alleged that these “inspec-
          16     tions” occurred prior to 2001—when Plaintiffs were allegedly injured; and (4) Plain-
          17     tiffs do not identify a single instance of a “Nestlé” employee identifying harm and
          18     choosing to ignore it—instead, Plaintiffs’ SAC underscores “Nestlé’s” policy to report
          19     any such instances if they are observed. (SAC ¶¶ 52-55). As such, even assuming that
          20     Nestlé USA or other employees inspected the Nestlé Ivory Coast facility, which is not
          21     alleged to be the site of any wrongdoing, that does nothing to create a connection be-
          22     tween such activity and the harm that allegedly befell Plaintiffs.
          23           Corporate Social Responsibility. Finally, Plaintiffs cite extensively from
          24     “Nestlé’s” “Standards of Business Conduct,” “Principles of Purchasing,” “Webpage of
          25     Suppliers Management,” “Commitment to Africa Brochure,” “The Nestlé Commit-
          26     ment on Child Labour,” and the “Nestlé Supplier Code.” (SAC ¶¶ 52-57). They con-
          27     tend that these publications, which express “Nestlé’s” opposition to forced child labor
          28     and describe its efforts to help address the global social problem, are part of “Nestlé’s”

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            1    effort “to continue aiding and abetting child slavery with no measureable loss of U.S.
            2    market share.” (SAC ¶¶ 51–58). This appears to be a meritless consumer misrepre-
            3    sentation claim, not a claim for violation of international law.
            4            Moreover, these allegations about statements and policies from 2005 onward, do
            5    not have a logical connection to Plaintiffs’ alleged harm, which ended between 1998
            6    and 2001. Thus, there simply is no “causal link” between these U.S. policies and
            7    Plaintiffs’ alleged injuries in Côte d’Ivoire and Mali. 9
            8            More importantly, Plaintiffs’ reliance on social responsibility policies highlights
            9    how surreal Plaintiffs’ aiding and abetting theory has become. Their allegations show
          10     that “Nestlé” and the other Defendants have repeatedly and publicly engaged in efforts
          11     to help combat forced child labor. (See SAC ¶¶ 52-60). Stripping back Plaintiffs’ un-
          12     supported conclusions, their allegations about “Nestlé’s” policy statements and lobby-
          13     ing efforts amount to the following, “Nestlé”: (a) “is against all forms of exploitation
          14     of children” (id. ¶¶ 52, 56); (b) sets supplier standards that prohibit forced labor (id. ¶¶
          15     53,54,57); (c) provides “‘training of trainers’ . . . to help eliminate the worst forms of
          16     child labor” (id. ¶¶ 53-55); and (d) voluntarily dedicated millions of dollars to help
          17     eradicate forced labor in Côte d’Ivoire (id. ¶¶ 63-65).
          18             These goals are laudable, not criminal. Indeed, having failed to establish any
          19     link whatsoever between these statements and criminal conduct, these policies are pro-
          20     tected speech regarding “matters of public concern.” See Thornhill v. Alabama, 310
          21     U.S. 88, 104 (1940). Thus, Plaintiffs’ suit is not only baseless as a factual matter, but
          22     also is an unconstitutional effort “to exact a cost” from “Nestlé” for its protected non-
          23     commercial speech. See Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 336,
          24     337 (2010) (citing N.Y. Times Co. v. Sullivan, 376 U.S. 254, 267 (1964)).
          25             The Ninth Circuit directed Plaintiffs to amend in light of two cases involving
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                      And, to the extent Plaintiffs’ theory is even credited at all (which it should not be),
                      it would still be improper because it attacks subsequent remedial measures. U.S.
          27          law reflects a deeply rooted policy of encouraging parties to engage in remedial
                      measures. See, e.g., Fed. R. Evid. 407; Tietsworth v. Sears, 720 F. Supp. 2d 1123,
          28          1148 n.7 (N.D. Cal. Mar. 31, 2010) (explaining that allegations concerning “reme-
                      dial action[s]” are “immaterial” at the motion to dismiss stage).
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            1    heinous war crimes. Instead, Plaintiffs strain to try to cast Defendants’ laudable efforts
            2    to help address a global social problem as bad acts. Regardless of the legal standard,
            3    Plaintiffs have entirely failed to state a claim.
            4    C.    Plaintiffs Do Not Have Standing To Sue Nestlé USA
            5          For many of the same reasons that Plaintiffs fail to allege actus reus, they also
            6    lack standing to sue Nestlé USA, which deprives this Court of subject matter jurisdic-
            7    tion over the claims against Nestlé USA. See Fed. R. Civ. P. 12(b)(1). Article III
            8    standing requires “a causal connection between the injury and the conduct complained
            9    of—the injury has to be ‘fairly . . . trace[able] to the challenged action of the defend-
          10     ant, and not . . . th[e] result [of] the independent action of some third party not before
          11     the court.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). This require-
          12     ment is not lessened for a class action. Mazza v. Am. Honda Motor Co., 666 F.3d 581,
          13     594 (9th Cir. 2012). Nor have Plaintiffs alleged a concrete or particularized injury at-
          14     tributable to Nestlé USA. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016).
          15           Thus, in Abecassis, the court held that the plaintiffs—survivors of, and relatives
          16     of victims of, suicide bombings in Israel—lacked standing to bring aiding and abetting
          17     allegations against an oil and gas company because there was no direct relationship be-
          18     tween the defendant and the principal tortfeasors, the suicide bombers. Abecassis v.
          19     Wyatt, 704 F. Supp. 2d 623, 643 (S.D. Tex. 2010). Plaintiffs’ alleged that the company
          20     aided and abetted genocide and crimes against humanity by illegally purchasing oil
          21     from the Saddam Hussein regime, which in turn, independently used the funds to fi-
          22     nance terrorism. Id. The court held that this was not enough because, ultimately, “the
          23     suicide bombers and the terrorist[s]” carried out the attacks, not the Hussein govern-
          24     ment or various third parties, and certainly not defendant. Id.
          25           Here, Plaintiffs merely allege that Nestlé USA is a Nestlé S.A. subsidiary (SAC
          26     ¶¶ 20, 35). Plaintiffs make no effort to explain how Nestlé USA’s operations connect
          27     to their injuries in Côte d’Ivoire; they do not allege that Nestlé USA (or any Nestlé en-
          28     tity) directly harmed Plaintiffs or has any relationship with the principal tortfeasors;

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            1    nor do they suggest that, had Nestlé USA ceased purchasing cocoa altogether, Plain-
            2    tiffs might have suffered a different fate. Plaintiffs thus provide no basis to conclude
            3    that Nestlé USA or any “Nestlé” conduct, for that matter, caused Plaintiffs’ injuries.
            4    See Twombly, 550 U.S. at 555. Indeed, “Plaintiffs do not allege . . . that Defendants
            5    provided the guns and whips that were used to threaten and intimidate the Plaintiffs.”
            6    Doe I, 748 F. Supp. 2d at 1101. Plaintiffs do not even allege that any “Defendant” pur-
            7    chased cocoa from any specific farm when Plaintiffs allegedly worked there. To the
            8    contrary, they cite documents that confirm that “Nestlé” has policies against forced
            9    child labor, and supports several on-the-ground programs designed to help eradicate it.
          10     (SAC ¶¶ 52-55). This cannot be said to have caused Plaintiffs’ harm and renders
          11     Plaintiffs’ allegations implausible.10
          12     D.      Plaintiffs’ Claims Fail For Numerous Additional Reasons
          13             First, Plaintiffs’ improper attempt to lump allegations about Nestlé USA with
          14     several other Defendants is an independent basis for dismissal. See Fed. R. Civ. Proc.
          15     8; 12(b)(6); Twombly, 550 U.S. at 555. Plaintiffs’ group pleading “draw[s] no mean-
          16     ingful distinctions between or among” the three defendants under the “Nestlé” label, or
          17     the seven defendants under the “Defendants” label and should be dismissed on this ba-
          18     sis. Top Rank, 2015 WL 9948966, at *9; see also Rush v. Savchuk, 444 U.S. 320, 331-
          19     32 (1980) (rejecting an “attempt[] to attribute [one defendant]’s contacts to [another
          20     defendant]”). This is particularly clear where, as here, group pleading raises signifi-
          21     cant due process concerns, only three of the seven named defendants have been served,
          22     and Plaintiffs’ agency allegations were long ago dismissed.
          23             Second, Plaintiffs’ theory of unlimited corporate liability predicated on global
          24     trade, corporate social responsibility programs and protected speech threatens grave
          25     trade implications and seeks to punish U.S. citizens for commercial activity that they
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                      Plaintiffs’ repeated reference to “Nestlé’s” efforts to use suppliers that are commit-
          28          ted to engaging in lawful labor practices means “the complaint itself gives reasons
                      to believe that” Plaintiffs’ allegations are implausible. See B(2)(b), supra.
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            1    had no notice would subject them to liability. The Supreme Court has repeatedly cau-
            2    tioned against adopting novel or aggressive theories of ATS liability, not only for fear
            3    of foreign-policy consequences, but also to preserve the separation of powers. E.g.,
            4    Kiobel, 133 S. Ct. at 1664 (“[T]he danger of unwarranted judicial interference in the
            5    conduct of foreign policy is magnified in the context of the ATS” because judge-made
            6    law in this area could “imping[e] on the discretion of the Legislative and Executive
            7    Branches in managing foreign affairs.”); Sosa, 542 U.S. at 725-27; see also Presbyter-
            8    ian Church of Sudan v. Talisman Energy, Inc., 582 F.3d 244, 254-56 (2d Cir. 2009);
            9    Doe I, 788 F.3d at 947 (Bea, J., dissenting from the denial of rehearing en banc).
          10             Finally, Nestlé USA strongly disagrees with the Ninth Circuit’s mens rea analy-
          11     sis and its conclusion that the FAC’s allegations satisfied any mens rea standard. See
          12     Doe I, 766 F.3d at 1023-26. While that decision may preclude this Court from adopt-
          13     ing a different rule of law, Nestlé USA preserves its prior mens rea arguments. Fur-
          14     ther, the three paragraphs in the SAC about Nestlé USA do not purport to describe any
          15     mental state that can be attributed to Nestlé USA. Accordingly, even under the Ninth
          16     Circuit’s articulation of what is sufficient to survive a Rule 12(b)(6) challenge to mens
          17     rea, Plaintiffs have not pleaded that Nestlé USA acted with the requisite mens rea.11
          18                                       V.        CONCLUSION
          19             Nestlé USA respectfully requests dismissal with prejudice. It would be funda-
          20     mentally unfair and prejudicial to permit this action to proceed, given Plaintiffs’ re-
          21     peated failure to state a claim after more than a decade.
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                      Nestlé USA preserves its other challenges to the Ninth Circuit’s rulings (including
          28          whether aiding and abetting and corporate liability are available under the ATS)
                      and its right to challenge any other adverse rulings from these proceedings.
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            1    Dated: September 15, 2016
            2
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            3                                             GIBSON, DUNN & CRUTCHER LLP
            4
            5
            6                                             By: /s/       Theodore J. Boutrous Jr.
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            7
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            8                                             NESTLÉ USA, INC.
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